                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA,                             )
                                                      )
                      Plaintiff,                      )       No. 3:05-CR-146
V.                                                    )       (PHILLIPS/SHIRLEY)
                                                      )
                                                      )
ROBERT ANTOINE TRUSS,                                 )
                                                      )
                      Defendant.                      )



                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate.

               This Court earlier entered an Order [Doc. 90] instructing the Clerk to issue a Writ of

Habeas Corpus Ad Testificandum to the Sheriff of Blount County to bring Jasmine Crowley before

the Court on March 29, 2006, at 1:30 p.m.

               After issuance of the Order, it came to the Court’s attention that the defendant

Jasmine Crowley, is in the custody of the United States Marshal Service and not the Sheriff of

Blount County and the writ would be ineffective as ordered.




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             The United States Marshal Service has agreed to have her present at the hearing on

March 29, 2006 at 1:30 p.m. Accordingly, the Order [Doc. 90] is hereby RESCINDED and

OVERRULED and of no effect. The writ shall not be issued.

             IT IS SO ORDERED.


                                                  ENTER:

                                                    s/ C. Clifford Shirley, Jr.
                                                  United States Magistrate Judge




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